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                                  Ken Paxton Opinions
                              
                          
                                  KP-0434
                              
                        
          
        
      
    
  

  

  
    
      KP-0434
              Ken Paxton
                  
        Categories
                        
Conflicts of Interest
              , 
Incompatibility of Offices
              , 
Dual Office Holding
              , 
Incompatibility of Offices
              , 
Special Districts and Authorities
              , 
Emergency Services Districts
              , 
Incompatibility of Offices
        
      
            
                  Summary
                      A person simultaneously volunteering as a fire fighter for an emergency services district and a commissioner on the ESD’s board of commissioners.
      
                          
            Opinion File
                         kp-0434.pdf 

      
          
                
        
      
    

          
        Related Requests
        
  
  
  

  
  
  

        

  
    RQ-0477-KP

      
  
                August 29, 2022

      
  
      
      
        Request PDF
                     RQ0477KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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